Case 21-40834-drd11            Doc 320 Filed 01/28/22 Entered 01/28/22 14:07:27             Desc
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MOW 3007-1.1    (4/2021)



                           IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF MISSOURI

IN RE:                                                      )
                                                            )
INTERSTATE UNDERGROUND WAREHOUSE                            )
     AND INDUSTRIAL PARK, INC.                              )       Case. No. 21-40834
                                                            )       Chapter 11
                                Debtor.                     )

                                    OBJECTION TO CLAIM

       Comes now Movant Interstate Underground Warehouse and Industrial Park, Inc., and
hereby objects to the Proof of Claim filed by creditor XPO Logistics Freight, Inc, in the amount
of $0.00, and filed on August 31, 2021. The court claim number is 12-1.

     Your claim may be reduced, modified, or eliminated. You should read this
document carefully and discuss it with your attorney, if you have one.

    Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
    Objection in which to file a Response if you do not want the court to eliminate or change your
    claim. The Response shall be in writing and state why the claim should be allowed as filed.
    If a Response is filed, the Court will schedule a hearing. If no timely Response is filed, the
    Court will enter an Order sustaining the Objection to the Claim. Parties not represented by an
    attorney shall mail a Response to the Court at U.S. Bankruptcy Court, 400 E. 9th St., Room
    1510, Kansas City, MO 64106. Debtor(s) not represented by an attorney must be served a
    copy of the Response by regular mail. If your Response is mailed, it must be early enough so
    that the court will receive it on or before 30 days after service of the Objection.

The basis for the objection is as follows: (PLEASE CHECK ONLY THE APPLICABLE
BOXES)

☒        The claim should be disallowed entirely because:

The claim would be one that would properly be asserted against the sender of the freight and not
the Debtor. Further, the Proof of Claim does not reflect an amount and no documentation is
attached.
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Dated: 1/28/2022                                            KRIGEL & KRIGEL, P.C.


                                                             /s/ Erlene W. Krigel
                                                            Erlene W. Krigel, MO #29416
                                                            4520 Main St., Ste. 700
                                                            Kansas City, MO 64111
                                                            Telephone: (816) 756-5800
                                                            Fax: (816) 756-1999
                                                            Email: ekrigel@krigelandkrigel.com
                                                            ATTORNEYS FOR DEBTOR

                                    CERTIFICATE OF SERVICE

I Erlene W. Krigel hereby certify that a true and correct copy of the Objection to Claim was
mailed to XPO Logistics Freight, Inc., by first class mail this 28th day of January, 2022:

XPO Logistics Freight, Inc.
9151 Boulevard 26
North Richland Hills, TX 76180


And to all interested parties received notice electronically via the court’s Electronic System.


Dated: 1/28/2022                                                    /s/ Erlene W. Krigel
                                                                    Erlene W. Krigel

Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

Instructions: Complete all parts of the form and serve on the affected parties

ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
